Case 2:04-cr-20314-SH|\/| Document 94 Filed 08/24/05 Page 1 of 2 Page|D 132

Fll-ED BY %_ o.c.
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

wEsTERN DIvIsIoN 05 AUG 2{* AH 72 00
CLEPK US PE'TF§CYOO[BT
UNITED STATES OF AMERICA * "HHJFW
' * W@ \};" iii §.‘,;;MH-HS
Plaintiff, *
* Cr. No. 04~20314-D
vs. *
'Jr
NANCY WILLIS and *
vICKIE HERRON, *
~k
Defendants. *

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY
AND SETTING

 

Counsel for the defendants came before the Court on August 23,
2005, and requested a continuance of the September 19, 2005 trial
date in order to allow for additional preparation in the case.

The Court granted the request and reset a firm trial date of
Mondav. October 17. 2005, at 9:00 a.m.

The period from August 23, 2005 through October 14, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of
justice served in allowing for additional time to prepare outweigh
the need for a speedy trial.

IT Is so oRDERED this Z3Mday of August, 2005.

 

 

DONALD
U ited States District Judge

Th`ss document entered on the docket Shset m compliance
w‘.t'n Ruls ii' ar;='i/or 32(!;)) FRCrP on m '

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 94 in
case 2:04-CR-203 14 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Stephen A. Sauer

LAW OFFICE OF STEPHEN A. SAUER
8 S. Third St.

4th Floor

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

